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7
                                       UNITED STATES DISTRICT COURT
8                                     WESTERN DISTRICT OF WASHINGTON

9    WILLIAM V. LANGFITT III, individually, and
     as executor of the Estate of the William V.                   NO.
10   Langfitt, IV, and PATRICIA E. LANGFITT,
     individually,
11

                                               Plaintiffs,         PLAINTIFFS’ COMPLAINT FOR
12
                          v.                                       DAMAGES UNDER 42 USC § 1983
13
                                                                   JURY TRIAL DEMAND
     PIERCE COUNTY, COLBY EDWARDS and
14   "JANE DOE" EDWARDS,
15
                                             Defendants.
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22
                                           DEMAND FOR A JURY TRIAL
23
                The plaintiffs, by and through undersigned counsel, respectfully request a jury trial against the
24   defendants in this cause of action. This cause of action is based upon the following:
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26
                                                                                               VALDEZ LEHMAN, PLLC
     COMPLAINT FOR DAMAGES                                                                       14205 SE 36th St. Ste 100
                                                                                                    Bellevue, WA 98004
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1                                      I.      NATURE OF ACTION

2               1.1    Introduction. This is a civil rights action brought by plaintiffs for excessive
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     force. This case arises from claims of excessive force, false arrest, unlawful seizure, tort of
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     outrage, negligence and violation of RCW 49.60.
5
                Plaintiff also bring this action pursuant to 42 USC §1983 and the Fourth and
6
     Fourteenth Amendment. Fourteenth Amendments are also brought against the
7

8    Defendants and their marital community.

9

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                                               II.    PARTIES
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12
                2.1    Plaintiff, William V. Langfitt, III, is the executor of the Estate of William V.

13   Langfitt, IV and at all times relevant was father of William V. Langfitt, IV. William V.

14   Langfitt, III, currently resides in the State of Oregon.
15
                2.2    Plaintiff Patricia E. Langfitt is the mother of William V. Langfitt, IV and
16
     currently resides in the State of Oregon.
17
                2.3    Defendant Pierce County/Pierce County Sheriff’s Office. Defendant Pierce
18
     County (County) is a municipality within the State of Washington and employed the Pierce
19

20   County sheriff and/or police officers that responded to the March 16, 2018 incident involving

21   William V. Langfitt, IV. The civil rights violations delineated herein were proximately

22   caused by its customs, policies and usages. Here, the County is liable for intentional torts or
23
     negligence which goes further than the theory of respondent superior if the employee was
24
     acting in the scope and course of employment. Pierce County’s customs and deputies failing
25

26
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1    to de-escalate the situation and shooting an unarmed person to death meets the standard for a

2    Monell claim for lack of training. A deputy shooting and killing an unarmed individual is
3
     likely reflective of a lack of training and or/supervision that amounts to deliberate
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     indifference. Notably, Billy Langfitt IV was the second person shot and killed by the
5
     defendant deputy over a twelve-month timespan. It is believed that there was no remedial
6
     training or sanction for either of the shootings. Whether the County had proper training,
7

8    procedure, and policies in place for its deputies on how to handle similar situations prior to

9    resorting to shooting and killing unarmed citizens who are experiencing mental health trauma
10   will be proven after discovery is concluded and at trial.
11
                2.5    Defendant Colby Edwards. At all times relevant, Colby Edwards was
12
     employed as law enforcement by the Pierce County and Pierce County Sheriff’s Office and
13
     was acting within the course and scope of his employment with the Pierce County and under
14

15
     color of law. All of Colby Edwards' acts alleged herein was taken for the benefit for the

16   Pierce County and his marital community.

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18
                                   III.    JURISDICTION AND VENUE
19
                3.1 Jurisdiction. Jurisdiction in this Court is based on the existence of a federal
20
     question pursuant to 28 USC §1331 and 1343, in that Plaintiffs assert claims for deprivation
21
     of civil rights under 42 USC §1983 for violation of the Fourth Amendments to the United
22

23   States Constitution.

24              3.2    Venue. Venue for this action is appropriate in this Court because the events

25   giving rise to the claims asserted herein occurred in the Seattle Division of this district and
26
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1    because the plaintiffs and defendants reside in this district.

2                                               IV.    FACTS
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                4.1    On March 16, 2018, William V. Langfitt, IV was repeatedly shot by Pierce
4
     County Sheriff Deputy Colby Edwards.
5
                4.2    William V. Langfitt, IV died as a result of the multiple gunshot wounds that he
6
     received from the March 16, 2018 shooting.
7

8               4.3    William V. Langfitt IV was unarmed and did not possess any dangerous

9    weapons at the time that he was killed by Deputy Edwards.
10              4.3    Prior to the shooting, William V. Langfitt was distraught as a result of the
11
     death of his grandfather.
12
                4.4    Naomi Powers called 911and told dispatch her friend was having a mental
13
     health crisis and she needed someone to help her get William V. Langfitt, IV, to the hospital.
14

15
                4.6    While Naomi was on the phone with 911 she saw William V. Langfitt, IV, in

16   the street barefoot with nothing but shorts and tee shirt on. He was holding nothing but a

17   picture of his grandfather.
18
                4.7    Defendant Colby Edwards was working as Pierce County Sheriff officer on
19
     March 16, 2018.
20
                4.8    Defendant Colby Edwards arrived on the scene, flung his door open and
21
     immediately drew his firearm.
22

23              4.9    Defendant Colby Edwards did not attempt to negotiate or de-escalate the

24   situation with William V. Langfitt, IV who was experiencing a mental health crisis.

25              4.12   Defendant Colby Edwards had his gun trained on William V, Langfitt, IV.
26
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1               4.13   Naomi Powers could see where Defendant Colby Edwards was located at the

2    time he began to shoot William V. Langfitt, IV.
3
                4.14   William V. Langfitt, IV did not make any verbal or physical threats towards
4
     Defendant Colby Edwards.
5
                4.15   William V. Langfitt, IV never touched Defendant Colby Edwards.
6
                4.16   After shooting William V. Langfitt, IV, sheriff officer rolled his body over and
7

8    handcuffed him.

9               4.17   The name William V. Langfitt has been in the Langfitt family for several
10   generations. William V. Langfitt IV did not have any children and the name died with him.
11
                4.18   The family of William V. Langfitt IV is devastated by his death.
12
                4.19   William V. Langfitt IV’s parents relied on him significantly. They are
13
     absolutely heartbroken by the loss of their son.
14

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                                       V.      CAUSES OF ACTION

16              5.1    First Cause of Action. By virtue of the facts set forth above, the defendants are

17   liable to all plaintiffs for damages for negligence. The claim for negligence arises out of the
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     duty owed to decedent William V. Langfitt, IV, by the County and by extension the defendant
19
     deputy who shot and killed him. The duty arose when the Deputy responded to the scene and
20
     chose to interact with William V. Langfitt IV. The duty is breached when the officers chose
21
     to shoot an unarmed William V. Langfitt, IV. But for the negligent action of the Deputy and
22

23   their employer the County, William V. Langfitt, IV, would be alive. Thus, the elements of

24   negligence are met. In Washington, the public duty doctrine defines circumstances under

25   which a governmental entity may owe a statutory or common law duty to a particular member
26
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1    of the public, namely, (i) legislative intent, (ii) failure to enforce, (iii) the rescue doctrine, or

2    (iv) a special relationship.
3
                5.2   Second Cause of Action. By virtue of the facts set forth above, the defendants
4
     are liable to all plaintiffs for the tort of outrage. William V. Langfitt, III as a father and
5
     executor of the estate of William V. Langfitt IV, claims outrage based the fact that Defendants
6
     officer Colby Edwards shot an unarmed William V. Langfitt IV multiple times, he
7

8    experienced significant pain and then died.      Deputy Colby made no attempt to peacefully

9    address the needs of a person that was experiencing a mental health episode. Instead,
10   knowing it could kill him, Deputy Colby pointed his loaded weapon at a distressed and
11
     unarmed William V. Langfitt IV and fired at him repeatedly causing emotional distress to
12
     extreme pain.
13
                5.3   Third Cause of Action. By virtue of the facts set forth above, the defendants
14

15
     are liable to all plaintiffs for false arrest.

16              5.4   Fourth Cause of Action. By virtue of the facts set forth above, the defendants

17   are liable to all plaintiffs for unlawful seizure.
18
                5.5   Fifth Cause of Action. Per RCW 49.60.030, the defendants are liable to the
19
     plaintiffs for violation of the plaintiffs' civil rights to the right to be free from discrimination
20
     because of race, creed, color, national origin, sex, honorably discharged veteran or military
21
     status, sexual orientation, or the presence of any sensory, mental, or physical disability or the
22

23   use of a trained dog guide or service animal by a person with a disability is recognized as and

24   declared to be a civil rights.

25              5.6   42.USC §1983. By virtue of the facts set forth above, all defendants are liable
26
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1    for compensatory and punitive damages for deprivation of civil rights of plaintiff William V.

2    Langfitt, III and Patricia E. Langfitt, guaranteed by the Fourteenth Amendments of the
3
     constitution of the United States and 42 USC §1983 to be free from. their liberty interest in a
4
     familial relationship with their son, William V. Langfitt, IV, without due process of law.
5
     Further, the force used by Defendant Colby was excessive in violation of 42 USC § 1983.
6
                                             VII. CONCLUSION
7

8                      WHEREFORE, Plaintiffs pray for the following relief:

9               1.     Compensatory damages and punitive damages in an amount to be proven at
10   trial. Plaintiffs seek punitive damages against all defendants;
11
                2.     For reasonable attorneys' fees and costs; and
12
                3.     For such other and further relief as the Court deems just and equitable.
13
                Dated this 17th day of February, 2020.
14

15
                                             VALDEZ LEHMAN, PLLC
16
                                             _/s/ Jesse Valdez_____________
17                                           JESUS “JESSE” VALDEZ, WSBA #35378
                                             Attorneys for Plaintiffs
18

19
                                             JAMES BIBLE LAW GROUP

20                                           _/s / James Bible____________
                                             JAMES BIBLE, WSBA #33985
21                                           Attorney for Plaintiffs
22
                                             LOYAL LAW PLLC
23
                                             /s/ Errin Loyal______________
24                                           Errin Loyal, WSBA # 56672
                                             Attorney for Plaintiffs
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26
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